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 7                  IN THE CIRCUIT COURT OF THE STATE OF OREGON

 8                              FOR THE COUNTY OF MARION

 9   PATRICIA WITT,                                  )
                                                     )          Case No. : 19CV06276
l0                                 Plaintiff,        )
                                                     )          CLAIM FOR RELIEF
11                  V.                                )         (PERSONAL INJURY)
                                       )
12   STANLEY FUHRMAN; KAG WEST LLC;)
     THE KROGER CO., & FRED MEYER      )
13   STORES, INC.                      )
                                       )                        CLAIM NOT SUBJECT TO
14                                     )                        MANDATORY ARBITRATION
                           Defendants. )                        Claim in the amount of $373,000. 00
15   _ _ _ _ _ _ _ _ _ _ _ _)                                   Fee Authority: ORS 21.160(l){c)

16          Plaintiff complains and alleges that:

17                                                   1

18          During all times herein mentioned, KAG West LLC, was and is a Foreign Limited

19   Liability Company authorized to do business as a transport company within the State of

20   Oregon and their principal place of business is located at 4366 Mt. Pleasant St. NW, North

21   Canton, OH 44720. During all times herein mentioned, Stanley Fuhrman, was an employee

22   ofKAG West LLC, and was working within the course of scope of his employment driving

23   a work vehicle owed by Kag West LLC.

24
25   Page 1- CLAIM FOR RELIEF (Personal Injury)

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                                                                                      Ex. A 1 of 5
 l                                                       2
 2           During all times herein mentioned, The Kroger Co. & Fred Meyer Stores, Inc., were

 3   and are foreign business corporations authorized to do business within the State of Oregon

 4   a11d owned a Fred Meyer store located at 15995 SW Walker Road in City of Beaverton,

 5   County of Washington, State of Oregon.

 6                                                       3
 7           On or about February 24, 2017, Plaintiff was stopped in her vehicle at the Fred Meyer

 8   gas station located at 15995 SW Walker Road in said City, County and State.

 9                                                      4
10           On or about February 24, 2017 Defendant Fuhrman was driving a refueling tanker

11   at the above referenced Fred Meyer gas station in said City, County and State.

12                                                      5
13           On or about February 24, 2017, a collision occurred between the vehicles when

14   Stanley Fuhrman collided into Plaintiffs vehicle causing damage to both vehicles and

15   injuries to Plaintiff.

16                                                      6
17           Said collision resulted from the negligent acts of Defendants Stanley Fuhrman and

18   KAG West LLC as hereinafter set forth, causing personal injury to Plaintiff as hereinafter

19   set forth.
20           Defendants were negligent in the following particulars:

21            I.      In failing to keep and maintain a proper lookout;

22           2.       In failing to maintain proper control of the vehicle;

23           3.       In driving while distracted;

24           4.       In failing to properly train drivers to avoid collisions near gas station

25   Page 2- CLAIM FOR RELIEF (Personal Injury)

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                                                                                      Ex. A 2 of 5
                     pumps;and

 2           5.      In failing to have proper mirrors on the truck to allow drivers to properly

 3                   see other vehicles on the roadway.

 4                                                     7
 5           Said collision resulted from the negligent acts of Defendants The Kroger Co.&

 6   Fred Meyer Stores Inc. as hereinafter set forth, causing personal injury to Plaintiff as

 7   hereinafter set forth.
 8           Defendants were negligent in the following particulars:

 9           1.      In failing to properly instruct refueling tank drivers on the manner in

10                   which they can safely deliver fuel without colliding into customers fueling

11                   their vehicles;

12           2.      In failing to properly cone off areas when trucks are refueling the tanks to

13                   allow trucks adequate room when refueling the tanks to avoid collisions

14                   with vehicles that are refueling;

15           3.      In failing to properly warn Stanley Fuhm1an that Plaintiffs vehicle was

16                   parked near an area he had to travel to refuel the tanks;

17           4.      In failing to assist Stanley Fuhmlan while he was driving near paying

18                   customers to help him avoid colliding into Plaintiff.

19           The negligent acts of the Defendants as hereinabove alleged were the sole, direct and

20   proximate cause of the collision between the vehicles as hereinabove referred to.

21                                                           8
22           As a sole, direct and proximate result of the negligent acts of the Defendants, and each of

23   them, as hereinabove alleged, and of the collision hereinabove alleged, Plaintiff sustained the

24   following injuries:

25   Page 3- CLAIM FOR RELIEF (Personal Injury)

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                                                                                   Ex. A 3 of 5
 1           1.     Back strain/sprain;

 2          2.      Neck strain/sprain;

 3          3.      Migraine headaches;

 4          4.      Dizziness;

 5          5.      Hip strain/sprain;

 6          6.      Balance issues;

 7          7.      General body stiffness; and

 8          8.      Mental upset and anguish.

 9          Some of said injuries Plaintiff sustained may be permanent in nature.

10                                                           9
11          As a direct and proximate result of the negligent acts of the Defendants, and each of

12   them, and of the injuries hereinabove referred to, Plaintiff has incurred economic losses in the

13   form of medical expenses in the amount of $20,000.00; and future medical expenses in the

14   amount of $50,000.00.
15          As a direct and proximate result of the negligent acts of the Defendants, and each of

16   them, and of the injuries hereinabove referred to, Plaintiff has incurred economic losses in the

17   form of wage loss in the amount of $3,000.00; Plaintiff also incurred loss of earning capacity in

18   the amount of $150,000.00.

19                                                          10
20          By virtue of the negligent acts of the Defendants, and each of them, and the injuries

21   hereinabove refe1Ted to, Plaintiff has suffered pain and agony and will for the balance of her life

22   continue to suffer pain and agony and interference with usual and normal activities and extreme

23   emotional distress, entitling her to non-economic damages in the amount of $150,000.00.

24
25   Page 4- CLAIM FOR RELIEF (Personal Injury)

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                                                                                   Ex. A 4 of 5
 1                                                        11

 2          Plaintiff demands a jury trial.

 3          WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of them,

 4   for economic damages in the an1ount of $223,000.00 and for non-economic damages in the

 5   amount of $150,000.00, together with her costs and disbursements.

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                          ..fh
 7          Dated this   (a   day of   fehru.Q V:: '- j              , 2019.

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                                SWANSON, LATHEN, PRESTWICH, P.C.
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                                  By:_ _~::..._/f!.--..,~<::::.----
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                                       Brian . Latnen, OSB #043374
12                                        of Attorneys for Plaintiff
                                       e-mail: blathen@slamlaw.com
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25   Page 5- CLAIM FOR RELIEF (Personal Injury)

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